        Case 1:19-cv-00518-GWC Document 288 Filed 11/20/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK


                                                        MDL No. 1:19-md-2903
 IN RE: FISHER-PRICE ROCK ’N PLAY
 SLEEPER MARKETING, SALES
                                                        This Document Relates to: ALL CASES
 PRACTICES, AND PRODUCTS
 LIABILITY LITIGATION
                                                        Hon. Geoffrey W. Crawford


                       NOTICE OF MOTION TO EXCLUDE THE
                   DECLARATION AND OPINIONS OF COLIN B. WEIR

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), Defendants Fisher-Price, Inc., and Mattel, Inc., move to exclude from

evidence the Declaration of Colin B. Weir (Dkt. No. 125-2), on which plaintiffs rely in support of

their motion to certify a California class (Dkt. No. 283 and supporting papers).

       As this Court knows, Defendants moved to exclude Mr. Weir’s declaration and opinions

in connection with an earlier round of class-certification briefing, which the Court ultimately nar-

rowed to focus on New York class issues. See Dkt. Nos. 168, 214. The Court denied Defendants’

motion on October 19, 2021—i.e., before entering its order directing the parties to focus on the

New York class issues. See Dkt. Nos. 210, 214. Accordingly, Defendants believe the Court in-

tended for its ruling to apply with respect to each putative state class, including plaintiffs’ current

motion to certify a California class. However, for the avoidance of any doubt, and to preserve the

issue for appeal, Defendants submit this separate motion to exclude Mr. Weir’s opinions in con-

nection with Plaintiffs’ motion to certify a California class for the reasons previously given.

       In support of this Motion, defendants rely on their prior memorandum of law (Dkt. No.

168-1), declaration of Adrianne E. Marshack (Dkt. No. 168-2), and supporting exhibits (Dkt. Nos.

168-3 and -4), as well as all prior pleadings and proceedings.
       Case 1:19-cv-00518-GWC Document 288 Filed 11/20/23 Page 2 of 2




November 17, 2023                        Respectfully submitted.

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